        Case 1:21-cr-00623-CRC Document 111-2 Filed 03/06/23 Page 1 of 2




March 6, 2023




Honorable Christopher R. Cooper
United States District Court, District of Columbia
333 Constitution Ave. NW
Washington, DC 20001


Dear Judge Cooper:

I am taking this opportunity to share my personal opinion of Michael Eckerman based upon the 20 years
that I have known him. I am the aunt of Mr. Eckerman’s wife, Sarah Eckerman. Due to this familial
relationship, I am in a position to share my impression of Michael since my niece began dating him in
high school.

To be completely honest, I am disclosing that I have had no contact with the Eckermans since
September of 2021. Therefore, I can’t speak to Michael’s behavior since his arrest. My disconnection
from that part of my family was due, in a large part, to our differing opinions of Donald Trump. It then
became clear that we did not share the same beliefs on numerous issues. When Michael started
obtaining guns and then Sarah showed her acceptance of those guns in the house with their children, I
knew that I needed to step back from my relationship with them. That was not an easy decision for me,
as Sarah and I were very close for years. This letter will, no doubt, effectively severe any possibility that
there could ever be a reconciliation; however, I don’t think it would be right of me to allow the glowing
opinions of Michael to stand on the record without sharing what I personally know of him.

I was not shocked to learn from the local news in September 2021 that Michael had participated in the
Insurrection and that he assaulted a police officer. Michael Eckerman is a bully. As was pointed out in
this case, Michael is a very large man. His voice is also loud and yelling is one of the ways he intimidates
people, including his children. The facts show Michael standing by while an officer was attacked by
other insurrectionists, pushing his way through the crowds and assaulting a police officer, calling police
officers ‘traitors’ and himself a ‘patriot’, and then defending his behavior for weeks and months
afterward. I have no doubt at all after knowing Michael for years, that he felt no remorse until he got
caught. I have never witnessed Michael have to face the consequences of his actions. I believe that is
why it’s important to follow the sentencing recommendation submitted by the prosecution.

Allowing Michael to continue his life in Wichita as if nothing has changed for him will only reinforce his
belief that he did nothing wrong; it will only prove to him that he can manipulate his way out of any
consequences. This time, it will be by holding up his beautiful children and wife as proof of Michael’s
contribution to society. I would argue that his wife and children would benefit from time away from
Michael. Sarah and Michael’s children exist and thrive in spite of Michael’s presence, not because of it.
Just as Michael loved the spotlight of his high school football years, he is mainly interested in the
attention he gets by yelling at his son’s soccer games and intimidating the other children, referees, and
spectators with his abusive antics. And the family gatherings he is so fond of, only allow him to pretend
         Case 1:21-cr-00623-CRC Document 111-2 Filed 03/06/23 Page 2 of 2




to be a good father while he smokes cigars and plays cards, simultaneously ignoring his own children
and wife. Sarah’s family has always supported her when Michael couldn’t be bothered to participate in
their lives and I have no doubt that the support of Sarah’s family will carry her through while Michael
serves his sentence, should you choose to impose one.

While Michael’s family would like to portray him as a loving family man who adores his children, I offer
another point of view. What responsible family man would risk the daily lives and livelihood of his wife
and children by doing what Mr. Eckerman did on January 6? What type of father purchases automatic
weapons and high‐capacity magazines, when the money spent on those things would have better served
his children’s needs? In addition to that, what type of man then poses for photos with his weapons and
a tactical vest in the middle of a neighborhood? What type of man spends days searching for people to
accompany him to Washington, D.C.? What type of father spends money buying a plane ticket and a
hotel room for his own personal vacation? If Michael was willing to take vacation from work in order to
participate in an Insurrection, why was he so hesitant to take his vacation hours to spend with his wife
and children? Michael’s behavior was not at all what you would expect of a doting father and loving
husband.

Many things noted about Michael in the letters of support came as a surprise to me. One of Michael’s
supporters pointed out in his letter that Michael wanted to be a firefighter. Unfortunately, that never
happened for Michael because he couldn’t stop smoking marijuana for long enough to pass the drug
test; that was conveniently left out. One of them also said that he is a devout Catholic. That is
surprising since he rarely, if ever, attended mass prior to 2021. I would argue that he’s only trying to
improve his image and trick the court into believing he has changed. I noticed that no one in Sarah’s
family wrote a glowing letter of support for Michael. I think that speaks volumes about the type of man
that Michael actually is. I was not the only person witnessing Michael’s self‐absorbed and abusive
behavior over the years. The few times Sarah managed to separate herself from Michael, her family
supported her and encouraged her to be strong. Unfortunately, Michael always exceled at manipulating
Sarah to come back to him.

I respectfully ask that you consider the sentencing recommendations of the prosecution and sentence
Michael Eckerman to a punishment that will show him the consequences of his actions. Someone needs
to stand up to Mr. Eckerman and show him that he cannot manipulate every situation. Show him that
his actions have consequences and if those consequences have any kind of negative effect on his
children and wife, that is his fault and no one else’s. While it’s true that Michael Eckerman has no
record and he can keep a job, I think that speaks volumes about his true intentions when he planned,
participated in, and then defended his actions of January 6. He risked everything and he had countless
chances to change his mind and realize what he was doing. Even when he returned to Wichita, he was
protesting mask mandates in a tactical vest and sporting a gun slung over him. He saw absolutely
nothing wrong with his lawlessness on January 6 and given my past experience with Mr. Eckerman, I do
not believe he holds any remorse now.

Thank you for your time.

Katie Striegel
